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                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                    Invoice Date                          :      June 22, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3389817
Cranberry Township, PA 16066                                                          Services Through                      :      May 31, 2017
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




0236915.00013            E.U. Competition Counseling



                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         71,825.00
Disbursements and Other Charges                                                                                                          $            736.46

CURRENT INVOICE DUE                                                                                                                      $         72,561.46




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                     FEES

DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
03/29/17   S.S. Megregian    0.20 C300      Consider incoming from M.        140.00
                                            Kirst with partial responses
03/29/17   Z. Romata         1.20 C300      Reviewing responses from         444.00
                                            M. Kirst to second RFI
03/30/17   Z. Romata         2.70 C300      Working on security of           999.00
                                            supply note
03/30/17   Z. Romata         0.70 C300      Revising responses to RFI2       259.00
03/30/17   Z. Romata         0.20 C300      Adding comments to RIF2           74.00
03/31/17   S.S. Megregian    0.30 C100      Consider incoming from M.        210.00
                                            Kirst with further responses
                                            to Commission questions
04/01/17   S.S. Megregian    0.30 C100      Consider incoming from           210.00
                                            RED counsel regarding fuel
                                            ACT
                                            assembly submission and
                                            proposed remedy; respond
                                            to M. Powell regarding
                                            same; email to K. Brode
                                            and M. Kirst regarding
                                            same
04/02/17   S.S. Megregian    0.70 C100      Call with Z. Romata to           490.00
                                            review consolidated draft
                                            response to Commission
                                            questions; discuss same
                                            and provide comments
04/02/17   Z. Romata         0.30 C300      Reviewing further                111.00
                                            responses and comments
                                            to RFI2
04/02/17   Z. Romata         0.30 C300      Revising RFI2                    111.00
04/02/17   Z. Romata         0.70 C300      Discussing responses and         259.00
                                            comments to RFI2 with S.
                                            Megregian
04/02/17   Z. Romata         0.50 C300      Finalizing comments and          185.00
                                            sending same to M. Kirst
                                            and K. Brode
04/04/17   S.S. Megregian    0.10 C300      Consider incoming from M.         70.00
                                            Kirst regarding further
                                            responses
04/04/17   S.S. Megregian    0.10 C300      Email to M. Kirst regarding       70.00
                                            questions on Areva
                                            capacity and utilization
04/04/17   S.S. Megregian    0.80 C300      Review memo from White &         560.00
                                            Case on behalf of RED
                                                                 ACT and
                                            counsel with Z. Romata
                                            discuss comments
04/04/17   S.S. Megregian    0.10 C300      Consider Z. Romata email          70.00
                                            regarding draft comments
                                            to RED counsel response
                                              ACT
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
04/04/17   S.S. Megregian    0.10 C300     Consider further incoming        70.00
                                           from M. Kirst regarding
                                           responses
04/04/17   Z. Romata         0.50 C300     Review of security of supply     185.00
                                           document
04/04/17   Z. Romata         1.60 C300     Reviewing further                592.00
                                           responses and revising
                                           submissions accordingly
04/04/17   Z. Romata         0.20 C300     Email exchange with client        74.00
                                           regarding call to discuss
                                           responses and revising
                                           submissions accordingly
04/04/17   Z. Romata         1.80 C300     Review of further                666.00
                                           comments on responses
                                           and revising submissions
04/04/17   Z. Romata         0.40 C300     Considering materials for        148.00
                                           response to question 32
04/05/17   S.S. Megregian    0.40 C100     Discuss with Z. Romata           280.00
                                           comments from M. Kirst
                                           regarding responses and
                                           documents
04/05/17   S.S. Megregian    0.10 C100     Consider incoming from            70.00
                                           RED counsel and respond
                                           ACT
                                           regarding same
04/05/17   S.S. Megregian    0.40 C100     Call with Z. Romata and M.       280.00
                                           Kirst on responses
04/05/17   S.S. Megregian    0.10 C100     Update with Z. Romata             70.00
                                           regarding contacts to White
                                           & Case; consider email
                                           regarding same
04/05/17   Z. Romata         0.40 C300     Discussing comments from         148.00
                                           M. Kirst with S. Megregian
04/05/17   Z. Romata         3.50 C300     Working on note on security    1,295.00
                                           of supply
04/05/17   Z. Romata         0.30 C300     Considering incoming from        111.00
                                           M. Kirst regarding further
                                           responses and EFG
                                           Agreement
04/05/17   Z. Romata         1.00 C300     Call with client regarding       370.00
                                           RFI2
04/05/17   Z. Romata         1.00 C300     Revising responses based         370.00
                                           on call
04/05/17   Z. Romata         0.80 C300     Preparing draft response to      296.00
                                           question 32 of RFI1
04/06/17   S.S. Megregian    0.30 C100     Review revised comments          210.00
                                           to submission with Z.
                                           Romata; comments and
                                           amendments regarding
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DATE       NAME              HRS TASK      DESCRIPTION                   AMOUNT
                                           same
04/06/17   S.S. Megregian    0.20 C100     Discuss with Z. Romata         140.00
                                           response to M. Kirst on
                                           capacity utilization and
                                           production locations of
                                           Areva
04/06/17   S.S. Megregian    0.10 C100     Further follow-up from M.       70.00
                                           Kirst regarding same
04/06/17   S.S. Megregian    0.20 C100     Emails with RED counsel        140.00
                                                        ACT
                                           regarding filing
04/06/17   S.S. Megregian    0.10 C100     Consider email from M.          70.00
                                           Kirst regarding capacity
                                           utilization
04/06/17   Z. Romata         0.60 C300     Reviewing revised              222.00
                                           responses regarding
                                           submission
04/06/17   Z. Romata         0.10 C300     Discussing revised              37.00
                                           responses regarding
                                           submission with S.
                                           Megregian
04/06/17   Z. Romata         0.10 C300     Email to M. Kirst regarding     37.00
                                           revised responses
                                           regarding submission
04/06/17   Z. Romata         1.70 C300     Working on note on security    629.00
                                           of supply
04/06/17   Z. Romata         0.20 C300     Considering incoming from       74.00
                                           M. Kirst regarding Areva
                                           and responding on same
04/07/17   S.S. Megregian    0.10 C300     Consider incoming from          70.00
                                           RED and email to M. Kirst
                                           ACT
                                           regarding same
04/07/17   S.S. Megregian    0.10 C300     Consider incoming               70.00
                                           comments from M. Kirst on
                                           responses
04/07/17   S.S. Megregian    0.10 C300     Consider emails from M.         70.00
                                           Kirst and K. Brode on RED
                                           document               ACT
04/07/17   S.S. Megregian    0.80 C300     Discuss with Z. Romata         560.00
                                           comments from M. Kirst
                                           and K. Brode on
                                           Commission responses and
                                           RED submission
04/07/17   S.S. Megregian    0.10 C300     ACT
                                           Consider Z. Romata email        70.00
                                           to K. Brode regarding
                                           comments
04/07/17   S.S. Megregian    0.10 C300     Consider Z. Romata email        70.00
                                           to counsel regarding
                                           comments
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
04/07/17   Z. Romata         1.30 C300     Working on note on security      481.00
                                           of supply
04/07/17   Z. Romata         0.50 C300     Reviewing and editing            185.00
                                           comments sent by client on
                                           RED submission
04/07/17   Z. Romata         0.80 C300     ACT
                                           Discussing comments sent         296.00
                                           by client on RED
                                           submission ACT
                                                        with S.
                                           Megregian
04/07/17   Z. Romata         0.20 C300     Email exchange with client        74.00
                                           regarding comments sent
                                           by client on RED
                                           submission ACT
04/07/17   Z. Romata         0.10 C300     Email to White & Case             37.00
                                           regarding comments sent
                                           by client on RED
                                           submission ACT
04/08/17   Z. Romata         1.80 C300     Working on note on security      666.00
                                           of supply
04/09/17   S.S. Megregian    0.60 C300     Review draft submission on       420.00
                                           security of supply and
                                           comments regarding same
04/09/17   Z. Romata         0.60 C300     Review of draft note non         222.00
                                           security of supply with S.
                                           Megregian
04/10/17   Z. Romata         2.30 C300     Revising note on security of     851.00
                                           supply to implement S.
                                           Megregian comments
04/11/17   S.S. Megregian    0.10 C100     Discuss with Z. Romata            70.00
                                           update on responses to
                                           Commission questions and
                                           status of draft submission
04/11/17   S.S. Megregian    0.10 C100     Consider emails from Z.           70.00
                                           Romata to K. Brode
                                           regarding approvals for
                                           submission
04/11/17   S.S. Megregian    0.10 C100     Consider emails from M.           70.00
                                           Kirst regarding update;
                                           discuss with Z. Romata
                                           regarding proposed
                                           response
04/11/17   Z. Romata         2.70 C300     Revising note on security of     999.00
                                           supply
04/11/17   Z. Romata         0.10 C300     Considering incoming from         37.00
                                           S. Lemaire
04/11/17   Z. Romata         0.10 C300     Email to K. Brode regarding       37.00
                                           submitting responses
04/11/17   Z. Romata         0.10 C300     Considering incoming from         37.00
                                           M. Kirst
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
04/12/17   S.S. Megregian    0.10 C100     Consider incoming from D.        70.00
                                           De Novellis regarding
                                           revised response to
                                           question 32
04/12/17   S.S. Megregian    0.10 C100     Consider further incoming         70.00
                                           from K. Brode on
                                           responses and EFG
                                           agreement
04/12/17   S.S. Megregian    0.30 C100     Discuss responses with Z.        210.00
                                           Romata and agree next
                                           steps
04/12/17   S.S. Megregian    0.30 C100     Discuss confidentiality          210.00
                                           claims on responses with Z.
                                           Romata and review email
04/12/17   S.S. Megregian    0.30 C100     Review with Z. Romata            210.00
                                           draft submission on security
                                           of supply and comment
                                           regarding same
04/12/17   Z. Romata         0.10 C300     Considering incoming from         37.00
                                           client regarding response to
                                           question 32
04/12/17   Z. Romata         0.20 C300     Revising confidentiality          74.00
                                           claims
04/12/17   Z. Romata         0.30 C300     Discussing response to           111.00
                                           question 32 from client with
                                           S. Megregian
04/12/17   Z. Romata         0.10 C300     Email to client regarding         37.00
                                           note on security of supply
04/12/17   Z. Romata         0.20 C300     Finalizing note on security       74.00
                                           of supply
04/12/17   Z. Romata         0.60 C300     Discussing note on security      222.00
                                           of supply with S. Megregian
04/13/17   S.S. Megregian    0.30 C100     Discuss with Z. Romata           210.00
                                           follow-up regarding
                                           responses to Commission
                                           questions and security of
                                           supply submission
04/13/17   S.S. Megregian    0.10 C100     Consider Z. Romata and M.         70.00
                                           Kirst emails regarding
                                           status of submissions to
                                           Commission and security of
                                           supply
04/13/17   S.S. Megregian    0.10 C100     Consider further comments         70.00
                                           from K. Brode and M. Kirst
                                           regarding responses on
                                           security of supply
04/14/17   S.S. Megregian    0.10 C100     Consider Z. Romata email          70.00
                                           to Commission with
                                           responses to questions;
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DATE       NAME              HRS TASK      DESCRIPTION                     AMOUNT
                                           discuss remaining
                                           outstanding questions
04/14/17   S.S. Megregian    0.10 C100     Discuss with Z. Romata            70.00
                                           and respond
04/14/17   S.S. Megregian    0.10 C100     Consider further comment          70.00
                                           from M. Kirst
04/14/17   S.S. Megregian    0.10 C100     Consider further incoming         70.00
                                           from M. Kirst and respond
                                           to Z. Romata regarding
                                           same
04/14/17   S.S. Megregian    0.30 C100     Discuss remaining                210.00
                                           outstanding questions;
                                           discuss K. Brode and M.
                                           Kirst comments on security
                                           of supply submission and
                                           review revised draft; update
                                           with Z. Romata regarding
                                           remaining outstanding
                                           responses to Commission
04/14/17   Z. Romata         0.20 C300     Considering and                   74.00
                                           implementing comments
                                           from client regarding
                                           submission on security of
                                           supply
04/14/17   Z. Romata         0.30 C300     Discussing comments from         111.00
                                           client regarding submission
                                           on security of supply with S.
                                           Megregian
04/14/17   Z. Romata         0.40 C300     Finalizing response and          148.00
                                           submitting them to
                                           Commission
04/14/17   Z. Romata         0.20 C300     Email to client regarding         74.00
                                           outstanding questions and
                                           revised submission
04/17/17   S.S. Megregian    0.20 C100     Consider incoming from K.        140.00
                                           Brode on Areva capacity
                                           utilization; comment back
                                           regarding same
04/17/17   Z. Romata         0.20 C300     Considering incoming from         74.00
                                           K. Brode regarding Areva
                                           plants capacity and
                                           response regarding same
                                           from S. Megregian
04/18/17   S.S. Megregian    0.20 C100     Consider incoming from           140.00
                                           Commission regarding
                                           formal notification by EDF
                                           of transaction and
                                           questionnaires
04/18/17   S.S. Megregian    0.10 C100     Discuss with Z. Romata            70.00
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DATE       NAME               HRS TASK      DESCRIPTION                  AMOUNT
                                            email to K. Brode and M.
                                            Kirst on next steps
04/18/17   S.S. Megregian     0.20 C100     Discuss with Z. Romata        140.00
                                            areas covered by
                                            questionnaires
04/18/17   S.S. Megregian     0.10 C100     Consider further comments      70.00
                                            from S. Lemaire
04/18/17   S.S. Megregian     0.10 C100     Review responses from          70.00
                                            client regarding responses
                                            to questionnaire
04/18/17   S.S. Megregian     0.10 C100     Review responses from K.       70.00
                                            Brode regarding update on
                                            next steps
04/18/17   S.S. Megregian     0.10 C100     Consider incoming from S.      70.00
                                            Lameier regarding security
                                            of supply and respond
                                            regarding same
04/18/17   Z. Romata          0.10 C300     Considering incoming from      37.00
                                            Commission regarding
                                            questionnaire; email to
                                            Commission regarding
                                            same, considering various
                                            emails from client, email
                                            with FA questionnaire
04/18/17   Z. Romata          0.30 C300     Discuss response from         111.00
                                            Commission regarding
                                            questionnaire with S.
                                            Megregian and response to
                                            client
04/19/17   B. C. McLaughlin   0.20 P400     Discussed questionnaires       59.00
                                            with Z. Romata
04/19/17   B. C. McLaughlin   0.10 P400     Drafted responses to           29.50
                                            questionnaires
04/19/17   B. C. McLaughlin   0.10 P400     Discussed with Z. Romata       29.50
                                            responses to the
                                            questionnaires
04/19/17   B. C. McLaughlin   0.40 P400     Drafted notes on proposed     118.00
                                            answers for questionnaires
04/19/17   B. C. McLaughlin   0.90 P400     Used information provided     265.50
                                            in previous questionnaires
                                            and board minutes to
                                            determine whether we
                                            could answer each question
04/19/17   B. C. McLaughlin   0.40 P400     Reviewed questionnaire on     118.00
                                            nuclear services
04/19/17   S.S. Megregian     0.10 C100     Consider update regarding      70.00
                                            Commission timeline for
                                            review
04/19/17   S.S. Megregian     0.40 C100     Consider Z. Romata email      280.00
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
                                           regarding additional
                                           questionnaires; consider Z.
                                           Romata and Commission
                                           emails regarding extension
                                           to deadline; consider M.
                                           Kirst emails and Z. Romata
                                           responses regarding
                                           logistics for completing
                                           responses; consider
                                           incoming from S. Lemaire
                                           regarding security of supply
                                           paper and respond
                                           regarding same; consider
                                           further emails from K.
                                           Brode and M. Kirst
                                           regarding response
04/19/17   S.S. Megregian    0.40 C100     Call with RED counsel           280.00
                                           regardingACTupdate on
                                           completion of
                                           questionnaires
04/19/17   S.S. Megregian    0.20 C100     Further discuss with Z.         140.00
                                           Romata questionnaires and
                                           organizing responses to
                                           remaining questionnaires
04/19/17   S.S. Megregian    0.10 C100     Consider Z. Romata email         70.00
                                           to team regarding FA
                                           questionnaire
04/19/17   S.S. Megregian    1.00 C100     Review with Z. Romata, S.       700.00
                                           Lemaire comments on
                                           security of supply; review
                                           FA questionnaire with Z.
                                           Romata and determine
                                           where WEEK input is
                                           required; update with Z.
                                           Romata regarding contacts
                                           with Commission and
                                           additional questionnaires;
                                           discuss with Z. Romata
                                           plans for completing
                                           questionnaire
04/19/17   Z. Romata         0.20 C300     Email exchange with client       74.00
04/19/17   Z. Romata         0.60 C300     Reviewing questionnaire on      222.00
                                           FAs with S. Megregian
04/19/17   Z. Romata         0.20 C300     Email to client regarding        74.00
                                           questionnaire on FAs
04/19/17   Z. Romata         0.30 C300     Contacting Commission           111.00
                                           regarding questionnaires
04/19/17   Z. Romata         0.60 C300     Reviewing comments from         222.00
                                           S. Lemaire on submission
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DATE       NAME              HRS TASK      DESCRIPTION                     AMOUNT
                                           on security of supply with S.
                                           Megregian
04/19/17   Z. Romata         0.40 C300     Revising submission on           148.00
                                           security of supply
04/19/17   Z. Romata         0.10 C300     Email to S. Lemaire               37.00
                                           regarding submission on
                                           security of supply
04/19/17   Z. Romata         4.00 C300     Working on FA                   1,480.00
                                           questionnaire
04/19/17   Z. Romata         0.60 C300     Reviewing other three            222.00
                                           questionnaires received
                                           from Commission
04/19/17   Z. Romata         0.30 C300     Call with Commission             111.00
                                           regarding extension
04/20/17   S.S. Megregian    0.10 C100     Update with Z. Romata             70.00
                                           regarding approval for
                                           submission
04/20/17   S.S. Megregian    0.10 C100     Review Z. Romata emails           70.00
                                           regarding revised
                                           submission on security of
                                           supply and discuss with Z.
                                           Romata
04/20/17   S.S. Megregian    0.10 C100     Consider incoming from S.         70.00
                                           Lemaire regarding approval
                                           for submission
04/20/17   Z. Romata         0.10 C300     Updating contact details for      37.00
                                           e-questionnaires
04/20/17   Z. Romata         0.10 C300     Considering email from S.         37.00
                                           Megregian to S. Lemaire
                                           regarding submission on
                                           security of supply
04/20/17   Z. Romata         0.10 C300     Organizing call regarding         37.00
                                           submission on security of
                                           supply
04/20/17   Z. Romata         0.40 C300     Call with S. Lemaire             148.00
                                           regarding submission on
                                           security of supply
04/20/17   Z. Romata         0.10 C300     Discuss submission on             37.00
                                           security of supply with S.
                                           Megregian
04/20/17   Z. Romata         0.10 C300     Revising submission on            37.00
                                           security of supply
04/20/17   Z. Romata         0.10 C300     Discussing revising               37.00
                                           submission on security of
                                           supply with S. Megregian
04/20/17   Z. Romata         0.40 C300     Email to S. Lemaire              148.00
                                           regarding revised
                                           submission
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
04/20/17   Z. Romata         0.40 C300     Finalizing submission            148.00
04/20/17   Z. Romata         0.10 C300     Email to Commission               37.00
                                           regarding finalization of
                                           submission
04/21/17   S.S. Megregian    0.10 C100     Follow-up email from M.           70.00
                                           Kirst regarding same and
                                           respond
04/21/17   S.S. Megregian    0.10 C100     Consider incoming from            70.00
                                           Commission regarding
                                           confidentiality on
                                           submission
04/21/17   S.S. Megregian    0.10 C100     Discuss confidentiality on        70.00
                                           submission with Z. Romata
04/21/17   S.S. Megregian    0.10 C100     Consider Z. Romata email          70.00
                                           to K. Brode and M. Kirst
                                           regarding confidentiality on
                                           submission
04/21/17   S.S. Megregian    0.10 C100     Consider K. Brode                 70.00
                                           comments regarding
                                           confidentiality
04/21/17   S.S. Megregian    0.10 C100     Consider M. Kirst input           70.00
                                           regarding confidentiality of
                                           submission
04/21/17   S.S. Megregian    0.10 C100     Email to M. Kirst and K.          70.00
                                           Brode regarding possible
                                           strategy to meet with senior
                                           officials
04/21/17   Z. Romata         0.20 C300     Identifying confidential          74.00
                                           information in submission
                                           on security of supply
04/21/17   Z. Romata         0.10 C300     Considering incoming from         37.00
                                           Commission regarding
                                           confidentiality
04/21/17   Z. Romata         0.10 C300     Email to client regarding         37.00
                                           identifying confidential
                                           information in submission
04/22/17   S.S. Megregian    0.10 C100     Discuss with Z. Romata            70.00
                                           plan for contacts to
                                           Commission regarding
                                           potential meeting
04/22/17   S.S. Megregian    0.10 C100     Consider incoming from M.         70.00
                                           Kirst regarding possible
                                           Commission meeting
04/22/17   Z. Romata         0.10 C300     Considering incoming from         37.00
                                           M. Kirst and S. Megregian
                                           regarding confidentiality
                                           claims and potential
                                           meeting with Commission
04/23/17   S.S. Megregian    0.10 C100     Consider emails from Z.           70.00
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DATE       NAME              HRS TASK      DESCRIPTION                     AMOUNT
                                           Romata and M. Kirst
                                           regarding potential meeting
                                           with Commission
04/24/17   S.S. Megregian    0.10 C300     Consider email from M.            70.00
                                           Kirst regarding further
                                           responses to Commission
                                           questionnaires
04/24/17   S.S. Megregian    0.40 C300     Call with Z. Romata              280.00
                                           regarding draft responses
                                           on services questionnaire;
                                           comments to Z. Romata
                                           regarding same; discuss
                                           with Z. Romata regarding
                                           comments from K. Brode;
                                           review same and provide
                                           amendments to Z. Romata
04/24/17   S.S. Megregian    0.20 C300     Consider correspondence          140.00
                                           regarding confidentiality on
                                           security of supply an email
                                           from K. Brode approving
                                           submission
04/24/17   S.S. Megregian    0.20 C300     Consider incoming from N.        140.00
                                           Torbjorn regarding
                                           comments on fuel assembly
                                           response and discuss with
                                           Z. Romata
04/24/17   Z. Romata         0.90 C300     Review of response on            333.00
                                           nuclear services
                                           questionnaire
04/24/17   Z. Romata         0.40 C300     Discussing response on           148.00
                                           nuclear services
                                           questionnaire with S.
                                           Megregian
04/24/17   Z. Romata         0.40 C300     Email to client with             148.00
                                           comments responses on
                                           nuclear services
                                           questionnaire
04/24/17   Z. Romata         0.20 C300     Considering comments              74.00
                                           from K. Brode on nuclear
                                           services questionnaire
04/24/17   Z. Romata         0.10 C300     Discussing answers from T.        37.00
                                           Noren regarding fuel
                                           assemblies with S.
                                           Megregian
04/24/17   Z. Romata         0.40 C300     Considering answers from         148.00
                                           T. Noren regarding fuel
                                           assemblies
04/25/17   S.S. Megregian    0.10 C300     Consider M. Kirst emails          70.00
                                           regarding timing of potential
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            Commission meeting
04/25/17   S.S. Megregian     0.20 C300     Discuss timing of potential      140.00
                                            Commission meeting with
                                            Z. Romata
04/25/17   S.S. Megregian     0.30 C300     Consider Z. Romata email         210.00
                                            regarding revised response;
                                            consider M. Kirst response
                                            regarding same; consider
                                            Z. Romata email to
                                            Commission regarding
                                            security of supply and
                                            confidentiality; consider
                                            Commission response
                                            regarding same
04/25/17   Z. Romata          2.20 C300     Revising FA questionnaire        814.00
04/25/17   Z. Romata          0.30 C300     Contacting Commission to         111.00
                                            organize meeting
04/26/17   S.S. Megregian     0.10 C300     Call with Z. Romata on            70.00
                                            organizing Commission
                                            meeting
04/26/17   S.S. Megregian     0.10 C300     Consider M. Kirst email           70.00
                                            regarding Commission
                                            meeting
04/26/17   S.S. Megregian     0.10 C300     Consider emails and               70.00
                                            attachments from M. Kirst
                                            on responses
04/26/17   Z. Romata          0.20 C300     Call with Commission              74.00
                                            regarding meeting with
                                            officials and WEC
                                            representatives
04/26/17   Z. Romata          0.10 C300     Considering incoming from         37.00
                                            M. Kirst regarding timing for
                                            meeting, response
                                            regarding same
04/27/17   F. Carloni         0.40 C300     Telephone conference with        280.00
                                            Z. Romata regarding
                                            preparation of meeting with
                                            DG COMP of 4 May
                                            regarding background
                                            about Carles Esteva Mosso
04/27/17   F. Carloni         0.30 C300     Telephone conference with        210.00
                                            Z. Romata and S.
                                            Megregian regarding scope
                                            of briefing points of meeting
                                            May 4th
04/27/17   F. Carloni         0.30 C300     Draft follow-up regarding        210.00
                                            scope of briefing points and
                                            meeting of May 4th
04/27/17   S.S. Megregian     0.10 C300     Consider email from M.            70.00
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DATE       NAME              HRS TASK      DESCRIPTION                     AMOUNT
                                           Kirst regarding Fuel
                                           assembly responses;
                                           consider emails from M.
                                           Kirst, Z. Romata and
                                           Commission regarding
                                           potential Commission
                                           meeting
04/27/17   S.S. Megregian    0.20 C300     Discuss with Z. Romata           140.00
                                           Nuclear Island responses;
                                           discuss with Z. Romata
                                           status of all 4 questionnaire
                                           responses
04/27/17   S.S. Megregian    0.20 C300     Consider numerous emails         140.00
                                           from M. Kirst, Z. Romata
                                           and Commission regarding
                                           logistics of Commission
                                           meeting
04/27/17   S.S. Megregian    0.30 C300     Discuss with F. Carloni          210.00
                                           potential assistance with
                                           Commission meeting
04/27/17   S.S. Megregian    0.10 C300     Consider incoming from K.         70.00
                                           Brode on nuclear Island
                                           submission; consider
                                           incoming from S. Lemaire
                                           regarding comments on
                                           nuclear services response
                                           and status of fuel assembly
                                           response; discuss with Z.
                                           Romata update on
                                           responses and preparation
                                           for meeting
04/27/17   Z. Romata         0.30 C300     Organizing meeting with          111.00
                                           Commission
04/27/17   Z. Romata         1.30 C300     Reviewing responses to           481.00
                                           nuclear islands and nuclear
                                           services questionnaires
04/27/17   Z. Romata         0.20 C300     Email exchanges with M.           74.00
                                           Kirst
04/27/17   Z. Romata         0.30 C300     Instructing T. Siakka to         111.00
                                           upload nuclear island
                                           questionnaire online
04/27/17   Z. Romata         0.40 C300     Discussing questionnaire         148.00
                                           with F. Carloni case team
                                           and case
04/27/17   Z. Romata         0.20 C300     Update to S. Megreian             74.00
                                           regarding questionnaires
04/27/17   T. Siakka         0.50 B110     Liaising and email               185.00
                                           exchange with Z. Romata
                                           regarding Westinghouse
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
                                            questionnaire
04/27/17   T. Siakka          1.50 B110     Review questionnaire and       555.00
                                            input in Commission's
                                            portal
04/27/17   T. Siakka          0.40 B110     Email to Z. Romata and         148.00
                                            discussion regarding
                                            progress portal modalities
                                            and responses to
                                            confidentiality claims
04/28/17   F. Carloni         0.70 C300     Prepare for and attend         490.00
                                            telephone conference with
                                            S. Megregian and Z.
                                            Romata regarding speaking
                                            notes for meeting with DG
                                            COMP of 4 May 2017
04/28/17   F. Carloni         0.40 C300     Review Z. Romata               280.00
                                            correspondence with
                                            speaking points
04/28/17   F. Carloni         0.10 C300     Attention to                    70.00
                                            correspondence regarding
                                            speaking points
04/28/17   S.S. Megregian     0.20 C300     Consider M. Kirst and Z.       140.00
                                            Romata emails regarding
                                            meeting with Commission;
                                            consider incoming from M.
                                            Kirst regarding responses
                                            on fuel assemblies and
                                            nuclear services
04/28/17   S.S. Megregian     0.40 C300     Call with Z. Romata and F.     280.00
                                            Carloni regarding talking
                                            points for Commission
                                            meeting; review talking
                                            points with Z. Romata and
                                            comments regarding same
04/28/17   S.S. Megregian     0.20 C300     Discuss with Z. Romata         140.00
                                            submission of documents
                                            and review of nuclear
                                            services and fuel
                                            assemblies
04/28/17   S.S. Megregian     0.10 C300     Consider M. Kirst response      70.00
                                            regarding pre-meeting and
                                            talking points
04/28/17   S.S. Megregian     0.10 C300     Consider incoming email         70.00
                                            regarding response to I & C
                                            questionnaire
04/28/17   S.S. Megregian     0.10 C300     Consider incoming from K.       70.00
                                            Brode on bullet points and
                                            incoming from S. Lemaire
                                            on responses
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DATE       NAME              HRS TASK      DESCRIPTION                   AMOUNT
04/28/17   Z. Romata         0.20 C300     Review of comments from         74.00
                                           S. Lemaire regarding
                                           talking points
04/28/17   Z. Romata         2.00 C300     Finalizing nuclear services     740.00
                                           questionnaire
04/28/17   Z. Romata         0.60 C300     Review of online                222.00
                                           submissions prepared by T.
                                           Siakka
04/28/17   Z. Romata         0.40 C300     Review of fuel assemblies       148.00
                                           and I&C questionnaires
04/28/17   Z. Romata         1.30 C300     Uploading fuel assemblies       481.00
                                           questionnaire online
04/28/17   Z. Romata         0.40 C300     Discussing with S.              148.00
                                           Megregian and F. Carloni
                                           talking points for meeting
04/28/17   Z. Romata         0.20 C300     Email to client regarding        74.00
                                           talking points for meeting
04/28/17   T. Siakka         1.00 B110     Review first questionnaire      370.00
                                           and liaise with Z. Romata
                                           regarding comments
04/28/17   T. Siakka         1.00 B110     Revise accordingly review       370.00
                                           and submit to the EC portal
04/28/17   T. Siakka         0.10 B110     Email to Z. Romata               37.00
                                           regarding submitted
                                           questionnaire and
                                           confirmation
04/28/17   T. Siakka         0.10 B110     Discussion with Z. Romata        37.00
                                           regarding second
                                           questionnaire
04/28/17   T. Siakka         0.30 B110     Input responses                 111.00
04/28/17   T. Siakka         0.10 B110     Email regarding modalities       37.00
                                           regarding Q25 to Z.
                                           Romata
04/28/17   T. Siakka         0.10 B110     Consider incoming from           37.00
                                           client and modify responses
04/28/17   T. Siakka         0.30 B110     Review first questionnaire      111.00
                                           and liaise with Z. Romata
                                           regarding comments;
                                           review and submit
                                           questionnaire; email to Z.
                                           Romata regarding
                                           submitted responses and
                                           confirmation
04/28/17   T. Siakka         0.10 B110     Email to Z. Romata               37.00
                                           regarding submitted
                                           responses and confirmation
05/01/17   S.S. Megregian    0.10 C300     Consider emails from Z.          70.00
                                           Romata and M. Kirst
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
                                            regarding submission
05/01/17   S.S. Megregian     0.10 C300     Consider email from D. De       70.00
                                            Novellis regarding response
                                            regarding submission
05/01/17   S.S. Megregian     0.10 C300     Discuss with Z. Romata          70.00
                                            submission of I&C
                                            response to Commission
05/01/17   Z. Romata          1.00 C300     Uploading I&C                  370.00
                                            questionnaire online
05/01/17   Z. Romata          0.10 C300     Email to client with            37.00
                                            questions on I&C
                                            questionnaire
05/01/17   Z. Romata          0.10 C300     Considering incoming from       37.00
                                            M. Kirst regarding I&C
                                            questionnaire
05/01/17   Z. Romata          0.10 C300     Revise submission of I&C        37.00
                                            questionnaire
05/02/17   F. Carloni         0.20 C300     Attention to                   140.00
                                            correspondence and follow-
                                            up with Z. Romata
                                            regarding meeting of 4 May
05/02/17   S.S. Megregian     0.10 C300     Consider various incoming       70.00
                                            from M. Kirst, Z. Romata
                                            and Commission regarding
                                            meeting with Commission
                                            regarding concerns
05/02/17   S.S. Megregian     0.10 C300     Discuss meeting and             70.00
                                            organizing call with
                                            Commission regarding
                                            concerns with Z. Romata
05/02/17   S.S. Megregian     0.10 C300     Consider further emails         70.00
                                            from Commission regarding
                                            attendance at meeting
05/02/17   Z. Romata          0.10 c300     Email to M. Kirst with          37.00
                                            responses submitted to
                                            Commission, considering
                                            incoming from M. Kirst
                                            regarding meeting
05/02/17   Z. Romata          0.10 c300     Email to Commission to          37.00
                                            confirm attendees and
                                            place
05/02/17   Z. Romata          0.10 c300     Discussing attendees and        37.00
                                            place with S. Megregian
05/02/17   Z. Romata          0.10 c300     Email to M. Kirst regarding     37.00
                                            meeting, further email
                                            exchange with client
                                            regarding call
05/03/17   F. Carloni         1.80 C300     Review presentation to        1,260.00
                                            European Commission of
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DATE       NAME               HRS TASK      DESCRIPTION                      AMOUNT
                                            19 January 2017; and
                                            updated list of talking points
                                            regarding meeting of 4 May
                                            with European Commission
05/03/17   F. Carloni         1.00 C300     Prepare for and attend            700.00
                                            telephone conference with
                                            M. Kirst, Kevin Brode, S.
                                            Megregian, Z. Romata
                                            regarding preparation of
                                            meeting of 4 May 2017
05/03/17   S.S. Megregian     0.20 C300     Call with counsel to discuss      140.00
                                            updates and intelligence
05/03/17   S.S. Megregian     0.10 C300     Consider incoming from M.          70.00
                                            Kirst regarding materials for
                                            preparation of Commission
                                            meeting
05/03/17   S.S. Megregian     0.10 C300     Discuss preparation of             70.00
                                            commission meeting with Z.
                                            Romata and provide
                                            comments
05/03/17   S.S. Megregian     0.40 C300     Prepare for call for              280.00
                                            Commission meeting with
                                            K. Brode, M. Kirst and KL
                                            Gates team
05/03/17   S.S. Megregian     0.10 C300     Email to M. Powell                 70.00
                                            regarding proposed call
05/03/17   S.S. Megregian     0.20 C300     Consider update from F.           140.00
                                            Carloni regarding deadline
                                            for EDF to offer remedies
05/03/17   S.S. Megregian     0.10 C300     Discuss with Z. Romata             70.00
                                            and instructions regarding
                                            update of client
05/03/17   S.S. Megregian     0.20 C300     Consider incoming MLex            140.00
                                            update regarding
                                            intelligence on status of
                                            Commission review
05/03/17   Z. Romata          0.30 c300     Considering talking points        111.00
                                            from M. Kirst regarding
                                            preparing for additional
                                            information on remedies
                                            and counter arguments to
                                            EU arguments
05/03/17   Z. Romata          0.90 c300     Preparing additional info on      333.00
                                            remedies and counter
                                            arguments to EU
                                            arguments
05/03/17   Z. Romata          0.10 c300     Discussing remedies and            37.00
                                            counter arguments to EU
                                            with S. Megregian
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
05/03/17   Z. Romata          0.10 c300     Email to M. Kirst regarding      37.00
                                            remedies and counter
                                            arguments to EU
05/03/17   Z. Romata          0.60 c300     Call to discuss meeting with     222.00
                                            Commission
05/03/17   Z. Romata          0.20 c300     Call with M. Powell to            74.00
                                            discuss meeting with
                                            Commission
05/03/17   Z. Romata          0.20 c300     Update email to client            74.00
                                            regarding meeting with
                                            Commission
05/03/17   Z. Romata          2.50 c300     Travel to Brussels for           925.00
                                            meeting with Commission
05/04/17   F. Carloni         1.00 C300     Attend preparatory meeting       700.00
                                            and with L. Van Hulle, S.
                                            Lemaire, M. Kirst, Z.
                                            Romata
05/04/17   F. Carloni         2.00 C300     Meeting with L. Van Hulle,     1,400.00
                                            S. Lemaire, M. Kirst, C.
                                            Esteva Mosso, H.
                                            Anttilainen, B. Popescu, C.
                                            Tixier, D. Gerard
05/04/17   F. Carloni         0.80 C300     Debrief meeting with S.          560.00
                                            Megregian and Z. Romata
                                            regarding preparation of
                                            submission to DG COMP
                                            regarding remedy issues
05/04/17   F. Carloni         0.60 C300     Office conferences with Z.       420.00
                                            Romata and K. Hristova
                                            regarding scope of
                                            research regarding
                                            preparation of note
05/04/17   F. Carloni         5.00 C300     Draft note regarding           3,500.00
                                            remedy issues
05/04/17   K. Hristova        0.60 C300     Office conference with F.        129.00
                                            Carloni and Z. Romata
                                            regarding scope of
                                            research regarding
                                            European Commission
                                            precedents regarding
                                            Westinghouse paper on
                                            remedies
05/04/17   K. Hristova        2.90 C300     Research, draft findings         623.50
                                            regarding European
                                            Commission precedents
                                            regarding Westinghouse
                                            paper on remedies
05/04/17   M. Kocon           1.80 C200     Review and analysis of EU        666.00
                                            precedents on meager
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
                                            remedy decisions imposing
                                            obligation on merging
                                            parties to continue existing
                                            contracts
05/04/17   M. Kocon           0.40 C200     Draft and internal              148.00
                                            communication of note
                                            summarizing supporting
                                            case law on precedents on
                                            meager remedy decisions
                                            imposing obligation on
                                            merging parties to continue
                                            existing contracts
05/04/17   S.S. Megregian     0.40 C300     Preparatory call with WEC       280.00
                                            team, Z. Romata and F.
                                            Carloni for Commission
                                            meeting
05/04/17   S.S. Megregian     0.80 C300     Discuss with Z. Romata          560.00
                                            and F. Carloni regarding
                                            results of Commission
                                            meeting and next steps
05/04/17   S.S. Megregian     0.10 C300     Consider Z. Romata email         70.00
                                            regarding clarification of
                                            Vesteros capacity
05/04/17   S.S. Megregian     0.10 C300     Consider emails from             70.00
                                            commission regarding
                                            follow-up questions and Z.
                                            Romata email regarding
                                            same
05/04/17   Z. Romata          2.00 c300     Pre-meeting with F. Carloni,    740.00
                                            S. Lemaire, M. Kirst and L.
                                            Van Hulle,
05/04/17   Z. Romata          1.50 c300     Meeting with Commission         555.00
05/04/17   Z. Romata          1.00 c300     Debriefing and setting next     370.00
                                            steps with client thereafter
05/04/17   Z. Romata          0.80 c300     Instructing M. Kocon and K      296.00
                                            Hristova regarding research
                                            on precedents
05/04/17   Z. Romata          0.80 c300     Call with S. Megregian          296.00
                                            regarding meeting with
                                            Commission and next steps
05/04/17   Z. Romata          0.80 c300     Travel from meeting             296.00
05/04/17   Z. Romata          0.30 c300     Considering incoming from       111.00
                                            Commission, email to client
                                            regarding same,
                                            considering incoming from
                                            F. Carloni
05/05/17   F. Carloni         0.90 C300     Review Z. Romata's              630.00
                                            comments regarding
                                            Westinghouse submission
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
                                            to European Commission;
                                            review Areva/Urenco/ETC
                                            JV and firewall
05/05/17   F. Carloni         0.40 C300     Telephone conference with      280.00
                                            Z. Romata regarding same
05/05/17   F. Carloni         0.50 C300     Draft comments regarding       350.00
                                            submission
05/05/17   S.S. Megregian     0.10 C300     Consider incoming from          70.00
                                            RED counsel regarding
                                            ACT
                                            submission on remedies
05/05/17   Z. Romata          0.80 C300     Review of submission on        296.00
                                            remedies from F. Carloni
05/05/17   Z. Romata          1.80 C300     Revising submission on         666.00
                                            remedies and providing
                                            comments to F. Carloni
05/05/17   Z. Romata          0.50 C300     Finalizing draft of            185.00
                                            submission on remedies
05/07/17   S.S. Megregian     0.30 C300     Discuss with Z. Romata         210.00
                                            preparing response to
                                            further questions on
                                            capacity
05/07/17   S.S. Megregian     0.10 C300     Review with Z. Romata           70.00
                                            draft submission on
                                            remedies
05/07/17   Z. Romata          0.20 c300     Discussing draft submission     74.00
                                            on remedies with S.
                                            Megregian
05/07/17   Z. Romata          2.00 c300     Revising draft submission      740.00
                                            on remedies to incorporate
                                            S. Megregian comments
05/07/17   Z. Romata          1.50 c300     Review of case law referred    555.00
                                            to regarding draft
                                            submission on remedies
05/08/17   F. Carloni         0.30 C300     Telephone conference with      210.00
                                            Z. Romata regarding S.
                                            Megregian's comments to
                                            draft submission and tender
                                            precedents in Commission
                                            decisions
05/08/17   B. C. McLaughlin   0.40 L320     Proof read document for Z.     118.00
                                            Romata; updated soft copy
                                            and emailed to Z. Romata
05/08/17   S.S. Megregian     0.40 C300     Review with Z. Romata          280.00
                                            draft submission and
                                            comment
05/08/17   S.S. Megregian     0.30 C300     Consider revised               210.00
                                            submission and provide
                                            final comments
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DATE       NAME              HRS TASK      DESCRIPTION                   AMOUNT
05/08/17   S.S. Megregian    0.10 C300     Consider incoming update        70.00
                                           from M. Kirst regarding
                                           status of responses to
                                           Commission
05/08/17   S.S. Megregian    0.10 C300     Update toRED counsel             70.00
                                           regarding ACT
                                                      status of
                                           responses to Commission
05/08/17   Z. Romata         2.00 c300     Working on remedies             740.00
                                           submission
05/08/17   Z. Romata         0.40 c300     Discussing work on              148.00
                                           remedies submission with
                                           S. Megregian
05/08/17   Z. Romata         1.00 c300     Further research on case        370.00
                                           law regarding remedies
05/08/17   Z. Romata         0.10 c300     Email to M. Kirst regarding      37.00
                                           timing of responses to
                                           Commission's latest
                                           questions
05/09/17   M. Kocon          3.00 C200     Assessment of EU              1,110.00
                                           Commission merger control
                                           precedents dealing with
                                           remedy decisions requiring
                                           merging parties to source
                                           supplies from third parties
                                           by way of a public auction
05/09/17   M. Kocon          0.50 C200     Draft and internal              185.00
                                           communication of email
                                           summarizing findings and
                                           conclusions
05/09/17   S.S. Megregian    0.10 C300     Discuss with Z. Romata           70.00
                                           amendments to remedies
                                           submission based on K.
                                           Brode comments
05/09/17   S.S. Megregian    0.10 C300     Consider incoming from M.        70.00
                                           Kirst regarding responses
                                           to questions from
                                           Commission and review of
                                           remedies submission
05/09/17   S.S. Megregian    0.20 C300     Discuss M. Kirst email with     140.00
                                           Z. Romata and review
                                           responses
05/09/17   S.S. Megregian    0.10 C300     Consider Z. Romata email         70.00
                                           regarding revised supply
                                           and capacity tables for
                                           CMA
05/09/17   Z. Romata         0.80 c300     Considering comments            296.00
                                           from K. Brode, revising
                                           submission on remedies
                                           accordingly
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DATE       NAME              HRS TASK      DESCRIPTION                     AMOUNT
05/09/17   Z. Romata         0.10 c300     Discussing comments from          37.00
                                           K. Brode and revising
                                           submission on remedies
                                           with S. Megregian
05/09/17   Z. Romata         0.20 c300     Email to client regarding          74.00
                                           revising submission on
                                           remedies
05/09/17   Z. Romata         0.20 c300     Discussing with M. Kocon           74.00
                                           research on precedents
                                           requesting the merging
                                           party to source
                                           products/services post-
                                           merger from third party
                                           suppliers through
                                           auctions/public tenders
05/09/17   Z. Romata         0.20 c300     Review of responses to             74.00
                                           latest RFI
05/09/17   Z. Romata         0.30 c300     Comments to M. Kirst on           111.00
                                           same and further email
                                           exchange regarding actual
                                           capacity
05/10/17   S.S. Megregian    0.10 C300     Consider M. Kirst and Z.           70.00
                                           Romata emails regarding
                                           submission of capacity and
                                           utilization data; consider
                                           further incoming from
                                           Commission regarding
                                           capacity clarification
05/10/17   S.S. Megregian    0.10 C300     Discuss submission of              70.00
                                           capacity and utilization data
                                           and capacity clarification
                                           with Z. Romata
05/10/17   S.S. Megregian    0.10 C300     Consider email from M.             70.00
                                           Kirst regarding comments
                                           to remedies paper
05/10/17   S.S. Megregian    0.10 C300     Discuss amendments                 70.00
                                           regarding comments to
                                           remedies paper with Z.
                                           Romata
05/10/17   S.S. Megregian    0.20 C300     Consider Z. Romata emails         140.00
                                           to M. Kirst regarding
                                           responses to Commission
                                           questions and remedies
                                           paper
05/10/17   Z. Romata         2.20 c300     Finalizing response to latest     814.00
                                           RFI and submitting same to
                                           Commission
05/10/17   Z. Romata         0.30 c300     Considering comments              111.00
                                           from M. Kirst on submission
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
                                           on potential remedies
05/10/17   Z. Romata         0.40 c300     Revising submission on          148.00
                                           potential remedies
                                           accordingly
05/10/17   Z. Romata         0.10 c300     Discussing submission on         37.00
                                           potential remedies with S.
                                           Megregian
05/10/17   Z. Romata         0.30 c300     Call from Commission            111.00
                                           regarding responses to
                                           questions
05/10/17   Z. Romata         0.10 c300     Email to M. Kirst with           37.00
                                           follow-up questions from
                                           Commission
05/11/17   S.S. Megregian    0.10 C300     Consider incoming from M.        70.00
                                           Kirst regarding review of
                                           responses to Commission
                                           on clarifying capacity
                                           questions
05/11/17   S.S. Megregian    0.10 C300     Consider incoming                70.00
                                           regarding IP protection
                                           language
05/11/17   S.S. Megregian    0.40 C300     Discuss with M. Kirst and Z.    280.00
                                           Romata communications
                                           with EDF
05/11/17   S.S. Megregian    0.10 C300     Consider emails from S.          70.00
                                           Lemaire and M. Kirst re
                                           comments on remedies
                                           paper
05/11/17   S.S. Megregian    0.20 C300     Discuss responses to            140.00
                                           emails from S. Lemaire and
                                           M. Kirst regarding
                                           comments on remedies
                                           paper with Z. Romata
05/11/17   S.S. Megregian    0.30 C300     Consider draft response to      210.00
                                           S. Lemaire comments and
                                           comments to Z. Romata
                                           regarding same
05/11/17   S.S. Megregian    0.10 C300     Consider further emails          70.00
                                           from Z. Romata and M.
                                           Kirst regarding remedies
                                           submission; consider
                                           incoming from S. Lemaire
                                           regarding EDF agreement;
                                           respond regarding same
05/11/17   Z. Romata         0.30 c300     Review of response to           111.00
                                           Commission's questions
05/11/17   Z. Romata         0.40 c300     Call with M. Kirst regarding    148.00
                                           calls from EDF
05/11/17   Z. Romata         0.20 c300     Filing response with             74.00
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
                                           Commission
05/11/17   Z. Romata         0.20 c300     Responding to comments           74.00
                                           on draft submission on
                                           remedies
05/11/17   Z. Romata         0.30 c300     Considering incoming from       111.00
                                           S. Lemaire regarding EDF
                                           request and response from
                                           S. Megregian
05/12/17   S.S. Megregian    0.10 C300     Consider response from S.        70.00
                                           Lemaire regarding
                                           communications from EDF
                                           regarding IP agreement
05/12/17   S.S. Megregian    0.40 C300     Discussion with European        280.00
                                           Commission regarding
                                           contact from EDF
05/12/17   S.S. Megregian    0.40 C300     Consider draft email update     280.00
                                           regarding communications
                                           from EDF regarding IP
                                           agreement and comment to
                                           Z. Romata
05/12/17   S.S. Megregian    0.20 C300     Email to team regarding         140.00
                                           possible arrangement with
                                           EDF
05/12/17   S.S. Megregian    0.20 C300     Consider incoming from M.       140.00
                                           Kirst regarding negotiations
                                           with EDF and respond
                                           regarding same;
                                           instructions to Z. Romata
                                           regarding follow-up on
                                           remedies paper
05/12/17   S.S. Megregian    0.10 C300     Consider incoming from S.        70.00
                                           Lemaire regarding contact
                                           with EDF and process;
                                           consider final document Z.
                                           Romata email to
                                           Commission regarding
                                           submission regarding
                                           remedies; consider
                                           incoming request from RED
                                                                  ACT
                                           counsel regarding remedies
                                           paper; consider M. Kirst
                                           response; respond to RED
                                           counsel regarding sameACT
05/12/17   Z. Romata         0.20 c300     Considering incoming from        74.00
                                           S. Lemaire regarding
                                           contact with EDF and
                                           process
05/12/17   Z. Romata         0.10 c300     Reviewing EDF letter             37.00
05/12/17   Z. Romata         0.40 c300     Considering incoming from       148.00
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DATE       NAME              HRS TASK      DESCRIPTION                   AMOUNT
                                           S. Lemaire, organizing call
                                           with Commission, call with
                                           Commission, reporting back
                                           to client about call with
                                           Commission and EDF
                                           request, finalizing
                                           submission on remedies,
                                           email to Commission
                                           regarding same,
                                           considering request from
                                           Counsel, email to M. Kirst
                                           regarding same, preparing
                                           redacted version for
                                           counsel, email to M. Powell
05/12/17   Z. Romata         0.20 c300     Reporting back to client        74.00
                                           about call with Commission
                                           and EDF request
05/12/17   Z. Romata         0.50 c300     Finalizing submission on       185.00
                                           remedies and email to
                                           Commission
05/12/17   Z. Romata         0.10 c300     Considering request from        37.00
                                           RED counsel regarding
                                           ACT
                                           remedy paper
05/12/17   Z. Romata         0.10 c300     Email to M. Kirst regarding     37.00
                                           same, preparing redacted
                                           version for RED counsel,
                                           email to M.ACT
                                                        Powell
05/15/17   S.S. Megregian    0.10 C300     Instructions to Z. Romata       70.00
                                           regarding confirming with
                                           Commission regarding
                                           remedies submission;
                                           consider incoming from
                                           Commission regarding
                                           acknowledgement of
                                           submission
05/15/17   S.S. Megregian    0.10 C300     Consider incoming from S.       70.00
                                           Lemaire regarding
                                           communication from EDF
                                           and propose response
                                           regarding same
05/15/17   Z. Romata         0.10 c300     Email to Commission             37.00
                                           regarding submission,
                                           considering incoming from
                                           S. Lemaire regarding
                                           signing EDF letter and
                                           responding regarding same
05/18/17   S.S. Megregian    0.10 C300     Consider incoming from M.       70.00
                                           Kirst regarding EDF/Areva
                                           joint venture; discuss same
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
                                            with Z. Romata
05/18/17   S.S. Megregian     0.10 C300     Instructions to Z. Romata        70.00
                                            regarding updating
                                            Commission; consider
                                            confirmation from
                                            Commission
05/18/17   Z. Romata          0.10 c300     Considering incoming from        37.00
                                            M. Kirst regarding Areva
                                            EDF JV
05/18/17   Z. Romata          0.10 c300     Discussing incoming from         37.00
                                            M. Kirst regarding Areva
                                            EDF JV with S. Megregian
                                            and informing Commission
05/19/17   F. Carloni         0.20 C300     Consider press reports          140.00
                                            regarding merger control
                                            proceedings EDF/Areva
                                            regarding expected
                                            unconditional clearance in
                                            Phase I and liaise with
                                            team regarding same
05/19/17   S.S. Megregian     0.10 C300     Consider incoming                70.00
                                            voicemail fromRED
                                                           ACT status
                                            counsel regarding
                                            update
05/19/17   S.S. Megregian     0.30 C300     Call withRED counsel to         210.00
                                                     ACT update
                                            discuss status
05/19/17   S.S. Megregian     0.10 C300     Consider reports regarding       70.00
                                            likely approval of
                                            transaction
05/19/17   Z. Romata          0.20 c300     Call with M. Powell              74.00
                                            regarding latest update on
                                            remedies and progress of
                                            Commission investigation
05/20/17   S.S. Megregian     0.10 C300     Emails with RED counsel          70.00
                                                         ACT update
                                            regarding status
05/20/17   S.S. Megregian     0.10 C300     Email M. Kirst and K. Brode      70.00
                                            regarding press reports on
                                            transaction clearance
05/20/17   S.S. Megregian     0.40 C300     Call with RED counsel           280.00
                                            regardingACT
                                                       press reports and
                                            possible next steps
05/20/17   S.S. Megregian     0.10 C300     Draft email to K. Brode and      70.00
                                            M. Kirst regarding
                                            communications with RED
                                            counsel               ACT
05/20/17   Z. Romata          0.30 c300     Call with M. Powell and S.      111.00
                                            Megregian regarding latest
                                            press report on EDF/Areva
05/21/17   S.S. Megregian     0.20 C300     Consider incoming from M.       140.00
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DATE       NAME              HRS TASK      DESCRIPTION                   AMOUNT
                                           Kirst on possible options
05/21/17   S.S. Megregian    0.30 C300     Draft email to M. Kirst        210.00
                                           regarding options for
                                           responding to reported
                                           unconditional approval
05/22/17   S.S. Megregian    0.10 C300     Consider M. Kirst email         70.00
                                           regarding contacting case
                                           team for update
05/22/17   S.S. Megregian    0.10 C300     Emails with K. Brode and        70.00
                                           M. Kirst regarding press
                                           reports
05/22/17   S.S. Megregian    0.10 C300     Discuss email to Case           70.00
                                           Team regarding update and
                                           press reports with Z.
                                           Romata
05/22/17   S.S. Megregian    0.10 C300     Consider emails with case       70.00
                                           team
05/22/17   S.S. Megregian    0.10 C300     Call with Commission case       70.00
                                           team to try and determine
                                           status
05/22/17   S.S. Megregian    0.10 C300     Email M. Kirst and K. Brode     70.00
                                           regarding call with Case
                                           team
05/22/17   S.S. Megregian    0.10 C300     Call with RED counsel to        70.00
                                           compare ACT
                                                     notes
05/22/17   Z. Romata         0.10 c300     Considering incoming from       37.00
                                           M. Kirst and K. Brode,
                                           email to Commission,
05/22/17   Z. Romata         0.50 c300     Call with Commission and       185.00
                                           S. Megregian regarding
                                           incoming from M. Kirst and
                                           K. Brode
05/23/17   S.S. Megregian    0.10 C300     Consider email from M.          70.00
                                           Kirst regarding contacts
                                           with RED counsel
05/23/17   S.S. Megregian    0.10 C300     EmailACT
                                                  back regarding           70.00
                                           comments from M. Kirst
                                           regarding contacts with
                                           counsel
05/29/17   S.S. Megregian    0.20 C300     Consider incoming              140.00
                                           regarding proposed
                                           amendments to supply
                                           agreement; consider
                                           Commission release
                                           regarding approval; end
                                           correspondence between Z.
                                           Romata and M. Kirst;
                                           consider email from K.
                                           Brode on potential contract
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DATE        NAME                 HRS TASK         DESCRIPTION                    AMOUNT
                                                  amendment
05/29/17    Z. Romata            0.20 c300        Considering incoming from         74.00
                                                  M. Kirst approval of
                                                  EDF/Areva deal, review of
                                                  market intelligence on
                                                  same, email to M. Kirst
                                                  regarding same
05/30/17    S.S. Megregian       0.10 C300        Discuss with Z. Romata            70.00
                                                  inquiry from A. Vallee Jego
05/30/17    Z. Romata            0.10 c300        Considering incoming from         37.00
                                                  K. Brode and follow up from
                                                  A. Vallee Jego, responding
                                                  to same
                          TOTAL FEES                154.80 hrs               $   71,825.00


                                 TIMEKEEPER SUMMARY

F. Carloni                          16.90    hrs at   $     700.00   / hr        11,830.00
K. Hristova                          3.50    hrs at   $     215.00   / hr           752.50
M. Kocon                             5.70    hrs at   $     370.00   / hr         2,109.00
B. C. McLaughlin                     2.50    hrs at   $     295.00   / hr           737.50
S.S. Megregian                      29.40    hrs at   $     700.00   / hr        20,580.00
Z. Romata                           91.30    hrs at   $     370.00   / hr        33,781.00
T. Siakka                            5.50    hrs at   $     370.00   / hr         2,035.00

                          TOTAL FEES                  154.80 hrs            $    71,825.00
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                              TASK CODE SUMMARY

B110    Case Administration                     5.50   hrs              2,035.00
C100    Fact Gathering                         10.40   hrs              7,280.00
C200    Researching Law                         5.70   hrs              2,109.00
C300    Analysis and Advice                     1.00   hrs                700.00
c300    Analysis and Advice                     5.20   hrs              1,924.00
C300    Analysis and Advice                     1.00   hrs                700.00
c300    Analysis and Advice                     3.50   hrs              1,295.00
C300    Analysis and Advice                     0.50   hrs                350.00
c300    Analysis and Advice                     1.50   hrs                555.00
C300    Analysis and Advice                     0.40   hrs                280.00
c300    Analysis and Advice                     1.00   hrs                370.00
C300    Analysis and Advice                     0.90   hrs                630.00
c300    Analysis and Advice                     0.50   hrs                185.00
C300    Analysis and Advice                     0.50   hrs                350.00
c300    Analysis and Advice                     0.70   hrs                259.00
C300    Analysis and Advice                     0.20   hrs                 74.00
c300    Analysis and Advice                     0.40   hrs                148.00
C300    Analysis and Advice                     0.30   hrs                111.00
c300    Analysis and Advice                     0.10   hrs                 37.00
C300    Analysis and Advice                     1.30   hrs                877.00
c300    Analysis and Advice                     0.50   hrs                185.00
C300    Analysis and Advice                     0.20   hrs                 74.00
c300    Analysis and Advice                     0.90   hrs                333.00
C300    Analysis and Advice                     0.20   hrs                140.00
c300    Analysis and Advice                     0.10   hrs                 37.00
C300    Analysis and Advice                    35.40   hrs             18,378.00
c300    Analysis and Advice                     0.20   hrs                 74.00
C300    Analysis and Advice                     0.40   hrs                280.00
c300    Analysis and Advice                     2.00   hrs                740.00
C300    Analysis and Advice                    12.70   hrs              4,936.00
c300    Analysis and Advice                     0.10   hrs                 37.00
C300    Analysis and Advice                     0.60   hrs                420.00
c300    Analysis and Advice                     0.30   hrs                111.00
C300    Analysis and Advice                     1.80   hrs              1,260.00
c300    Analysis and Advice                     2.00   hrs                740.00
C300    Analysis and Advice                     1.70   hrs              1,091.00
c300    Analysis and Advice                     0.30   hrs                111.00
C300    Analysis and Advice                     1.00   hrs                700.00
c300    Analysis and Advice                     4.60   hrs              1,702.00
C300    Analysis and Advice                     7.90   hrs              2,902.50
c300    Analysis and Advice                     2.20   hrs                814.00
C300    Analysis and Advice                     0.10   hrs                 70.00
c300    Analysis and Advice                     0.30   hrs                111.00
C300    Analysis and Advice                     0.10   hrs                 70.00
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c300     Analysis and Advice                       0.20   hrs                 74.00
C300     Analysis and Advice                       0.10   hrs                 70.00
c300     Analysis and Advice                       0.10   hrs                 37.00
C300     Analysis and Advice                       0.10   hrs                 70.00
c300     Analysis and Advice                       0.10   hrs                 37.00
C300     Analysis and Advice                       0.10   hrs                 70.00
c300     Analysis and Advice                       0.50   hrs                185.00
C300     Analysis and Advice                       0.40   hrs                280.00
c300     Analysis and Advice                       0.10   hrs                 37.00
C300     Analysis and Advice                       0.40   hrs                280.00
c300     Analysis and Advice                       0.20   hrs                 74.00
C300     Analysis and Advice                       0.20   hrs                140.00
c300     Analysis and Advice                       0.10   hrs                 37.00
C300     Analysis and Advice                      29.50   hrs             12,037.00
c300     Analysis and Advice                       1.10   hrs                407.00
C300     Analysis and Advice                       1.40   hrs                980.00
c300     Analysis and Advice                       0.80   hrs                296.00
C300     Analysis and Advice                       0.70   hrs                391.00
L320     Document Production                       0.40   hrs                118.00
P400     Initial Document Prep/Filing              2.10   hrs                619.50
                          TOTAL FEES             154.80   hrs         $   71,825.00



                            DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                               AMOUNT
Taxi / Uber Fare                                                            219.04
Travel Expenses: Air Fare                                                   206.16
Travel Expenses: Hotel                                                      283.63
Travel Expenses: Meals                                                       27.63

                            DISBURSEMENTS & OTHER CHARGES             $      736.46
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                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                    Invoice Date                          :      July 24, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3402114
Cranberry Township, PA 16066                                                          Services Through                      :      June 30, 2017
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




  0236915.00013          E.U. Competition Counseling


                                                          INVOICE SUMMARY

Fees                                                                                                                                      $                  387.00

CURRENT INVOICE DUE                                                                                                                       $                  387.00




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                        FEES

DATE         NAME              HRS TASK        DESCRIPTION                    AMOUNT
06/05/17     S.S. Megregian    0.10 C300       Emails with M Powell for         70.00
                                               TVO re update on next
                                               steps
06/06/17     S.S. Megregian    0.10 C300       Consider incoming from M            70.00
                                               Kirst re next steps
06/07/17     S.S. Megregian    0.20 C300       Call with M Powell, counsel       140.00
                                               for TVO re information on
                                               decision
06/07/17     S.S. Megregian    0.10 C300       Email update to M Kirst re          70.00
                                               status
06/07/17     Z. Romata         0.10 c300       Research on EDF/Areva               37.00
                                               deal (whether decision has
                                               been published), discussing
                                               same S Megregian
                          TOTAL FEES                0.60 hrs              $      387.00


                               TIMEKEEPER SUMMARY

S.S. Megregian                     0.50 hrs at    $       700.00 / hr            350.00
Z. Romata                          0.10 hrs at    $       370.00 / hr             37.00
                          TOTAL FEES                  0.60 hrs           $       387.00



                               TASK CODE SUMMARY

C300       Analysis and Advice                        0.20   hrs                 140.00
c300       Analysis and Advice                        0.10   hrs                  37.00
C300       Analysis and Advice                        0.30   hrs                 210.00
                           TOTAL FEES                 0.60   hrs         $       387.00
17-10751-mew
BTK00117


                        Doc 1363-10                   Filed 09/14/17 Entered 09/14/17 10:43:57                                                       Exhibit J-1
                                                            Pg 34 of 35
                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                    Invoice Date                          :      August 15, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3419028
Cranberry Township, PA 16066                                                          Services Through                      :      July 31, 2017
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




  0236915.00013          E.U. Competition Counseling


                                                          INVOICE SUMMARY

Disbursements and Other Charges                                                                                                           $                  21.40

CURRENT INVOICE DUE                                                                                                                       $                  21.40




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew   Doc 1363-10   Filed 09/14/17 Entered 09/14/17 10:43:57   Exhibit J-1
                                   Pg 35 of 35
                                                                Invoice # 3419028
                                                                   0236915.00013
                                                                       Page 2 of 2

                        DISBURSEMENTS & OTHER CHARGES
DESCRIPTION                                                             AMOUNT
Telephone / Conference Calls / Fx Line Trans                              21.40
                         DISBURSEMENTS & OTHER CHARGES            $        21.40
